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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:23-CV-21065-ALTONAGA

   JONATHAN CONDE, individually
   and on behalf of all others similarly situated

         Plaintiff,

   vs.

   CDJ OF 152ND ST. MIAMI LLC,
   d/b/a CRAB DE JOUR, et al.

        Defendant.
   ______________________________/

                           RULE 68 OFFER OF JUDGMENT TO PLAINTIFF

          Defendants, CDJ OF 152Nd St. Miami, LLC, YIHUA WANG, JONATHAN PAPAGNO,

   pursuant to Fed. R. Civ. P. 68, offer to allow a judgment to be entered against them on Plaintiff’s

   claims for allegedly violating the FLSA and FMWA, as alleged in the operable Complaint, as

   follows:

          1.          The parties making this offer are CDJ OF 152Nd St. Miami, LLC, YIHUA WANG,

   JONATHAN PAPAGNO (“Defendants”).

          2.          This offer is being made to address and resolve Plaintiff’s claims against

   Defendants as alleged in the operable Complaint for alleged unpaid minimum and overtime wages

   (and tips) under the FLSA and for unpaid minimum wages under the FMWA.

          3.          Defendants offer the following amounts to Plaintiff:

                      a.     the gross amount of $5,000.00 to Plaintiff for alleged overtime and

                             minimum wages (inclusive of tips); and

                      b.     the gross amount of $5,000.00 to Plaintiff for alleged liquidated damages.
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          4.      Defendants also agree to pay Plaintiff the amount awarded by the Court for

   attorneys’ fees and costs.

          5.      If Plaintiff does not accept this offer, he may become obligated to pay the

   Defendants’ costs incurred after the making of this offer if he does not recover a judgment on his

   FLSA claims that are more favorable than this Offer of Judgment, pursuant to Rule 68(d) of the

   Federal Rules of Civil Procedure.

          6.      The Court may also consider this Offer when determining Plaintiff’s reasonable

   attorneys’ fees, including whether a reasonable attorneys’ fee is no attorneys’ fee. See. e.g.,

   Sahyers v. Prugh, Holliday & Karatinos, P.L., 560 F.3d 1241, 1244 (11th Cir. 2009); see also

   Malden v. Wings Over Emerald Coast Inc., 2019 WL 1245866, at *5 (N.D. Fla. Feb. 20, 2019),

   report and recommendation adopted, 2019 WL 1245137 (N.D. Fla. Mar. 18, 2019) (denying

   attorneys’ fees) (collecting cases); and Nelson v. Kobi Karp Architecture & Interior Design, Inc.,

   2018 WL 3059647, at *2 (S.D. Fla. June 19, 2018).

          7.      To accept this offer, Plaintiff must serve written notice of acceptance on the

   undersigned within fourteen (14) days from the date this offer was made/served.

          8.      This offer is not to be construed as an admission of liability by Defendants but is

   solely being made for the purpose of compromising a disputed claim.
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I served a copy of the foregoing on this 12th day of June 2023

   by email to each person identified on the attached service list.

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                                CERTIFICATE OF SERVICE

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